UNITED STATES OF AMERICA
SOUTHERN DISTRICT OF NEW YORK
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USA
                                                                23 Cr. 0019-01 (NSR)
            - against -

MELODIE MONTEFUSCO,                                             ORDER ACCEPTING
                                                                PLEA ALLOCUTION
                                   Defendant.

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NELSON S. ROMÁN, U.S.D.J.:

        The Court has reviewed the transcript of the plea allocution in the above-entitled case, the

charging papers, and all other pertinent parts of the record. The Report and Recommendation of

the Honorable Andrew E. Krause, United States Magistrate Judge, dated January 13, 2023, is

approved and accepted.



                                                                SO ORDERED.




                                                         Nelson S. Román
                                                         United States District Judge

Dated: White Plains, NY
       January 20, 2023




              1/20/2023
